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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF VERMONT

                                                    )
 A.M., by and through his parents and natural       )
 guardians, Christopher Messineo and Jill           )
 Messineo; E.M., by and through her parents         )
 and natural guardians, Christopher Messineo        )
 and Jill Messineo; CHRISTOPHER                     )
 MESSINEO, individually; JILL MESSINEO,             )
 individually; A.S., by and through her parents     )
 and natural guardians, Russell Senesac and         )
 Selena Senesac; RUSSELL SENESAC,                   )
 individually; SELENA SENESAC,                      )
 individually; A.H., by and through her parents     )
 and natural guardians, James Hester and            )
 Darlene Hester; JAMES HESTER,                      )
 individually; DARLENE HESTER,                      )
 individually; and the ROMAN CATHOLIC               )   Case No. 2:19-cv-00015-cr
 DIOCESE OF BURLINGTON, VERMONT,                    )
                                                    )
                    Plaintiffs,                     )
 v.                                                 )
                                                    )
 DANIEL M. FRENCH, in his official                  )
 capacity as Secretary of the Vermont Agency        )
 of Education,                                      )
                                                    )
                Defendant.                          )
                                                    )


      STIPULATED MOTION TO SUSPEND SCHEDULING DEADLINES AND STAY
                  RELATED PROCEEDINGS PENDING APPEAL

        The parties, by and through their attorneys, stipulate that:

        1.      On April 2, 2020, at the request of the parties and due to concerns about the

COVID-19 epidemic, the Court entered an order extending the deadlines for Discovery and

Motions for Summary Judgment until June 30, 2020 and August 17, 2020, respectively.

        2.      On May 29, 2020, the Court issued an Opinion and Order denying Plaintiffs’

Motion for Preliminary Injunction (ECF Doc. 85).
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       3.      On June 8, 2020, the Plaintiffs filed their Notice of Appeal to the U.S. Court of

Appeals for the Second Circuit regarding the Court’s denial of their Motion for Preliminary

Injunction (ECF Doc. 86).

       4.      The Plaintiffs’ appeal seeks legal guidance from the Court of Appeals that directly

bears on proceedings in this Court going forward.

       5.      The parties deem it necessary to suspend the deadlines for Discovery, Motions for

Summary Judgment, and Trial Readiness and to stay any related proceedings before this Court

during the pendency of proceedings at the U.S. Court of Appeals for Second Circuit under Docket

No. 20-1772 (“Plaintiffs’ Appeal”).

       6.      Defendant is concluding work on his Privilege Log and, despite this Motion, will

produce it as soon as it is completed.

       7.      The parties expect to resume all proceedings before this Court as soon as the Court

of Appeals addresses Plaintiffs’ Appeal and will work together and with the Court to re-establish

the appropriate scheduling deadlines at that time.

       WHEREFORE, the parties respectfully request that the Court suspend the Parties’

Discovery, Summary Judgment, and Trial Readiness Deadlines and Stay Related Proceedings until

the Court of Appeals has addressed Plaintiffs’ Appeal.

       Respectfully submitted this 7th day of July 2020.


/s/ Thomas E. McCormick
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